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 NOT FOR PUBLICATION

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


  EDWARD G. PETRAGLIA,

         Plaintiff,                                              Civ. No. 17-6325

  v.

  U.S. BANK, N.A., in its direct capacity as a                   ORDER
  debt collector; SELECT PORTFOLIO
  SERVICING, INC., in its direct capacity as a
  debt collector, and as agent for U.S. Bank,
  N.A.; MILSTEAD & ASSOCIATES, INC., in                        RECEIVED
  its direct capacity as a debt collector;
  GREGORY J. TENCZA; 314 ATLANTIC
  AVENUE - SPRING LAKE, LLC; ABC                                   MAR 15 2018
  CORP. DEFENDANTS I - X; and JOHN                             AT 8:30               M
  DOE DEFENDANTS I- X,                                           . WILLIAM T WALSH
                                                                        CLERK

         Defendants.

 THOMPSON. U.S.D.J.

        This matter having come before the Court on multiple motions; the Court having fully

 considered the written submissions of the parties and having heard oral argument on all pending

 motions on March 15, 2018 at 2:00 PM, and for the reasons stated on the record after oral

 argument on this same day,

        IT IS on this 15th day of March, 2018,

        ORDERED that the Motion for Reconsideration or Clarification filed by Plaintiff Edward

 G. Petraglia (ECF Nos. 51, 52) is DENIED; and it is further

        ORDERED that the Motion to Dismiss the Amended Complaint brought by Defendant

 Milstead & Associates, LLC (ECF No. 53) is GRANTED; and it is further
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        - ORDERED that Plaintiffs Amended Complaint (ECF Nos. 33, 39) is DISSMISED as to

 Defendant Milstead & Associates, LLC; and it is further

         ORDERED that the Motion for Judgment on the Pleadings brought by Defendants

 Gregory J. Tencza & 314 Atlantic A venue - Spring Lake LLC (ECF No. 49) is GRANTED; and

 it is further

         ORDERED and ADJUDGED that JUDGMENT is ENTERED for Defendant Gregory J.

 Tencza on Count Three of Plaintiffs Amended Complaint, the only claim brought against him

 (Am Compl. <fl( 14, 38-39, 217, ECF No. 39); and it is further

         ORDERED and ADJUDGED that JUDGMENT is ENTERED for Defendant 314

 Atlantic A venue - Spring Lake LLC on all Counts of Plaintiffs Amended Complaint (ECF Nos.

 33, 39); and it is further

         ORDERED that the Counterclaim brought by Defendants Gregory J. Tencza and 314

 Atlantic A venue - Spring Lake LLC, and the attendant Motion for Default Judgment thereon, are

 STA YED pursuant to 11 U .S.C. § 362(a)( 1) (see ECF No. 59).




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